case 3:21 yd RE RS TARR IER HEE EDD ip, age tof 1 Page 10 #47

David Kraybill
Plaintiff

V.

Csae No. 21-cv-1235-JPG

David mains
Donna Daniel
Affordable Inmate Services, LLC.

Defendants

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MOTION TO WITHDRAW CIVIL SUIT WITH STIPULATIONS

Now comes the Plaintiff, David Kraybill, pro se, in the above named
civil complaint, and hereby makes the motion to withdraw the complaint if
the Honorable Judge J. Phil Gilbert, agrees to the following stipulations
before any dismissal.

The following stipulations for volunteering to withdraw:

1). The case must be dismissed without prejudice.

2). There must not be a strike placed against the plaintiff for filing a
fivilous lawsuit. In other words the plaintiff should not be penalized.

3). Any filing fees or court costs must be waived by the court.

4). All three of the three stipulations must be agreed to specifically in
writing by the court, and signed by the presiding Judge, J. Phil Gilbert.

It is the Plaintiff's belief that he should not bear anymore loss and
financial burdon then what has already been imposed. on him by
the Defendants, and prays that the court will find this motion reasonable,
The Plaintiff humbly requests that the court make a ruling on this motion
within ten (10) days so that if the court denies the motion the Plaintiff
will have time to prepare for the court's order to show cause, in which
event the plaintiff also request this court to grant a sixty day extension

of time in order for Plaintiff to do legal research to show grounds for cause,

David Kraybill Date: October 17, 2021
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